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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:14CR363
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
       vs.                                    )                 AND ORDER
                                              )
REYNALDO URBINA-SOTRES,                       )
                                              )
              Defendant.                      )

       This matter is before the Court on Defendant Reynaldo Urbina-Sortres’s Motion to

Vacate under 28 U.S.C. 22551 (“§ 2255 motion") (Filing No. 259). Also, before the Court

is an ECF filing entitled, “Motion for Speedy Trial or Dismissal” (Filing No. 258).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                               FACTUAL BACKGROUND

       The Defendant pled guilty to Counts I and II of an Information charging him with

conspiracy to distribute 5 grams or more of methamphetamine and an amount of marijuana

(Count I) and illegal re-entry by a person convicted of an aggravated felony (Count II). On


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       The document that was filed on ECF was addressed to the United States Court of
Appeals and is an application for leave to file a second or successive § 2255 motion.
Because the Defendant had not previously filed a § 2255 motion, the Court has liberally
construed the filing as an initial § 2255 motion.
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January 6, 2015, Paul J. Forney filed an appearance as the Defendant’s retained counsel,

but, on May 18, 2015, withdrew his appearance due to a confilct. On May 22, 2015, Marti

S. Sleister was court-appointed as counsel for the Defendant and remained as his counsel

throughout the remainder of the proceedings.

       The Defendant entered into a binding plea agreement under Federal Rule of

Criminal Procedure 11(c)(1)(C) for a term of incarceration of 70 months which included a

waiver of the right of appeal and collateral attack (Filing No. 210 at 4, 5).

       In his Petition to Enter a Plea of Guilty, signed on September 1, 2015, the

Defendant stated under oath: He had enough time to talk with his attorney; he was

satisfied with the job his attorney had done; he had no objections to the way his attorney

had represented him; he knew he had a right to plead not guilty and proceed to trial with

all accompanying constitutional rights; he was aware that the maximum statutory term of

imprisonment for Count I was 40 years and for Count II was 20 years; and he understood

all the questions in the Petition. (Filing No. 209. at 2, 6). On September 1, 2015, the

Defendant’s plea was accepted and he was found guilty of Counts I and II of the

Information.

       A sentencing hearing was held on November 23, 2015. The Court accepted the

Plea Agreement and the Defendant was sentenced to a term of 70 months on Count I and

term of 70 months on Count II, to run concurrently, with four (4) years of supervised

release on Count I and one (1) year of supervised release on Count II to follow, with those

terms to run concurrently.

       On July 5, 2016, the Defendant filed his timely § 2255 motion (Filing No. 259).



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                                       DISCUSSION

§ 2255 motion

       In his § 2255 motion, the Defendant alleges two grounds in support of his motion:

(1) Fast Track Early Release Program, and (2) Ineffective Assistance of Counsel.

Defendant asserts that his attorney did not care about the case and committed a plethora

of errors affecting the Defendant’s decision to enter the guilty plea. The Defendant also

states that his attorney never advised him of his right of appeal.

       In order to establish ineffective assistance of counsel, the Defendant must satisfy

both prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

       Under the Defendant’s plea agreement, he waived his right to seek post-conviction

relief except for (a) “The right to timely challenge the defendant’s conviction and the

sentence of the Court should the Eighth Circuit Court of Appeals or the United States

Supreme Court later find that charge to which the defendant is agreeing to plead guilty fails

to state a crime.” or (b) “The right to seek post-conviction relief based on ineffective

assistance of counsel.” (Filing No. 210 at 5.) The Defendant adopted the Presentence

Investigation Report (Filing No. 231), in which the Defendant received the following



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reductions: a two-level reduction for a minor participant role; an additional two-level

reduction for acceptance of responsibility; and a one-level reduction on the government’s

motion.

       The undersigned took the Defendant’s plea in this case, and questioned the

Defendant at length to ensure that the plea was knowing and voluntary and supported by

a factual basis, and that the Defendant was satisfied with the advice and performance of

counsel. The Defendant executed both the Plea Agreement and Petition to Enter a Plea

Guilty, which stated he understood all the questions contained therein, and that he was

guilty of the crimes alleged in Count I and Count II (Filing No. 209 at 12). The colloquy at

the time of the plea hearing confirmed repeatedly the voluntary nature of his plea.

       The Court notes that Marti S. Sleister is an experienced and well-respected criminal

defense attorney. With regards to the “Fast Track” program, the United States Attorney

retains the discretion to limit or deny a defendant’s participation in such program. The

remaining complaints about Sleister’s representation in the Defendant’s § 2255 motion do

not rise to a level showing that Sleister performed outside the wide range of reasonable

professional assistance or made errors so serious that Defendant did not receive the kind

of counsel guaranteed by the Sixth Amendment. United States v. Luke, 686 F.3d 600, 604

(8th Cir. 2012) (“There is a ‘strong presumption that counsel's conduct falls within the wide

range of professionally reasonable assistance.’”) (quoting Strickland, 466 U.S. at 689). Nor

has the Defendant demonstrated any reasonable probability that the result of the

proceedings would have been different, but for counsel's alleged ineffective assistance.

Motion for Speedy Trial or Dismissal

       In the Defendant’s Filing No. 258, Motion for Speedy Trial or Dismissal of

Deteiner[sic]/Charges in Other State or Federal Jurisdiction,” it appears this motion is

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addressed to the “Woodbury Co. Sheriff’s Dept. Sioux City Iowa.” This Court is in unaware

of a detainer lodged in the District of Nebraska regarding “Tampering w/Records,

Fraudulent Practice.” Therefore, the motion will be denied as moot.

                                     CONCLUSION

      For the reasons discussed, the Defendant cannot prove either prong of the

Strickland test, and his § 2255 Motion will be denied.

      Accordingly,

      IT IS ORDERED:

      1.      The Court has completed the initial review of Defendant Reynaldo Urbina-

      Sortres’s Motion to Vacate under 28 U.S.C. 2255 (“§ 2255 motion") (Filing No.

      259);

      2.      The Court summarily dismisses the Defendant's § 2255 motion;

      3.      A separate Judgment will be issued denying the § 2255 motion;

      4.      The Defendant’s Motion for Speedy Trial or Dismissal (Filing No. 258) is

              denied as moot; and

      5.      The Clerk is directed to mail a copy of this Memorandum and Order to the

      Defendant at his last known address.

      DATED this 29th day of November, 2016.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge




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